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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


                                                      )
  J.E.C.M., e/ijf/.,                                  )
                                                      )
                  Plaintiffs/Petitioners,             ) caseNo.: l:18-cv-903(LMB/MSN)
                  V.                                  )
                                                      )
  JONATHAN HAYES,et al,                               )
                                                      )
                  Defendants/Respondents.             )
                                                      )

                                                          ORDER


          UPON CONSIDERATION of Plaintiffs' Motion to Seal and Redact, and Local Rule 5,

  and having seen no opposition filed, it is hereby

          ORDERED that Plaintiffs' Motion to Seal and Redact is GRANTED.

          Before this Court may seal documents, it must"(1)provide public parties a reasonable

   opportunity to object,(2)consider less drastic alternatives to sealing the documents, and (3)

   provide specific reasons and factual findings supporting its decision and reject the alternatives."

  Ashcraft v. Conoco, Inc., 218 F.3d 288,302(4th Cir. 2000). In compliance with Local Civil

   Rule 5 and Ashcraft, Plaintiffs filed a public Notice of Filing of Plaintiffs' Motion to Seal and

   Redact, and the Court has posted this notice to the Court's public docket. A brief description of

  the content("Proposed Sealed Documents"), Plaintiffs' motion, memorandum in support of their

   motion, and exhibits thereto, that Plaintiffs' move to redact and seal is as follows:

          To Redact-Plaintiffs' Memorandum of Law in Support of Plaintiffs' Motion for

   Summary Judgment.

          To Seal -the following exhibits to Plaintiffs Motion for Summary Judgment:
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